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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :     19-CR-039-3 (JMF)
                                                                       :
YUE JUAN CHEN,                                                         :          ORDER
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        There is a proceeding in this matter scheduled for April 7, 2021, at 12:00 p.m. Unless and
until the Court orders otherwise, the proceeding will be held in person in the Court’s usual courtroom:
Courtroom 1105 in the Thurgood Marshall United States Courthouse, 40 Centre Street.

        In the interest of public health, and in order to comply with social distancing protocols, the
parties are strongly encouraged to limit the number of people in the courtroom as much as
possible. Indeed, seating at both counsel table and in the public area of the courtroom will be severely
limited.

        All members of the public, including attorneys, must complete a questionnaire and have their
temperature taken before being allowed entry into the Courthouse. Attached to this Order are
instructions and a link to the questionnaire. In light of these protocols, counsel and Defendant
should arrive at the Courthouse early to ensure that the proceeding can begin on time. Two masks
(fully covering the mouth and nose) must be worn at all times while in the Courthouse. (Please note
that bandanas, neck gaiters, or masks with exhalation valves or vents are not permitted.) If someone
does not have adequate face covering, it will be provided upon entry by the Court Security Officers.

       Finally, to minimize the need for physical contact among participants during the proceeding,
counsel are strongly encouraged to ensure that any documents requiring a signature are signed
in advance of the proceeding and to submit any and all relevant documents to the Court in
advance of the proceeding (via ECF or email, as appropriate).

        SO ORDERED.

Dated: March 30, 2021                                      __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
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All members of the public, including attorneys, appearing at a Southern District of New York
courthouse must complete a questionnaire and have their temperature taken before being allowed
entry into that courthouse.
On the day you are due to arrive at the courthouse, click on the following weblink, or scan the
following QR code with a mobile device camera to begin the enrollment process. Follow the
instructions and fill out the questionnaire. If your answers meet the requirements for entry, you will
be sent a QR code to be used at the SDNY entry device at the courthouse entrance.
                               https://app.certify.me/SDNYPublic




Note: If you do not have a mobile phone or mobile phone number, you must complete the
questionnaire and temperature screening at an entry device at the courthouse.




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